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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 1:22-cv-21130-BB

 JOSE TELLERIA,

         Plaintiff,

 v.

 AZTLAN FOODS, CORP.,
 AND ECI, INC.,

       Defendants.
 _________________________________________/

  DEFENDANTS’ RESPONSE TO PLAINTIFF’S AMENDED STATEMENT OF CLAIM

         Defendant, AZTLAN FOODS, CORP. (“Aztlan”) and EVI, INC., (“EVI”), (Collectively

 “Defendants”), by and through their undersigned counsel, hereby file their Response to Plaintiff’s

 Amended Statement of Claim.

      1. Defendants assert that Plaintiff is likely entitled to some relief in this matter, solely on the

         claim for Overtime, but at nowhere near the level sought in Plaintiff’s Amended Statement

         of Claim (SOC).

      2. Plaintiff has had the details of his employment incorrect from the onset of this matter, and

         only partially corrects the issues with his Corrected Amended Complaint.

      3. The two named corporate Defendants are related companies. However, Plaintiff was only

         ever employed by Aztlan, and not EVI. Thus, to the extent EVI has now been added as a

         party Defendant, EVI’s posture is that it owes Plaintiff nothing because Plaintiff was never

         employed by the company.
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    4. Plaintiff was employed by Aztlan and is likely to be owed some overtime compensation.

        The estimate is that in many weeks, but certainly nowhere near the 150 weeks claimed by

        Plaintiff, he did work in excess of forty hours and was paid straight time.

    5. However, there is also legitimacy in Aztlan’s Affirmative Defenses, which will be restated

        in the response to the current rendition of the Complaint, namely that Plaintiff regularly

        failed to show up to work, often for days or longer at a time, and then ultimately quit rather

        than take a different position upon the return from one of his periods of absence.

    6. Given the recent amendments to Plaintiff’s Complaint, noting further that the undersigned

        placed Counsel for Plaintiff on notice from the moment of retention in this matter that the

        Complaint was inaccurate, Defendants are attempting to find the records that will both

        delineate the amount of owed in overtime by Aztlan, and demonstrate that no damages are

        owed by EVI. However, Aztlan can say with certainty that the amounts sought by Plaintiff

        in his Amended SOC are significantly overstated on the OT issue, and that Aztlan owes

        nothing on wither of the remaining claims.

 Dated: June 6, 2022.

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 6th day of June, 2022, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached Service List in the manner specified, either via transmission of Notices of Electronic

 Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

 are not authorized to receive electronically Notices of Electronic Filing.

                                               /s/ Charles M. Eiss
                                               CHARLES M. EISS, ESQ.
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                                        SERVICE LIST

                                 United States District Court
                                 Southern District of Florida
                             Telleria v. Aztlan Foods, Corp.., et al
                                CASE NO. 1:22-cv-21130-BB


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 Method of Service: CM/ECF
